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                                                                            February 28, 2019

         VIA ECF

         Hon. Joan M. Azrack, USDJ
         United States District Court
         Eastern District of New York
         100 Federal Plaza
         Central Islip, New York 11722

         Re:     D’Aguino v. Garda, 16-cv-00641-JMA-AKT
                 Tanza v. Garda, 15-cv-04394-JMA-AYS

         Dear Judge Azrack:

                  I represent the Plaintiffs in the matter of D’Aguino v. Garda, 16-cv-00641 a case filed to recover,
         inter alia, unpaid overtime wages under the Fair Labor Standards Act. I also have been retained by
         Paulette Dubrow, the widow of Barry Dubrow, to represent his estate. Mr. Dubrow is a plaintiff in both
         the D’Aguino matter and the Tanza matters.

                  Mr. Dubrow unexpectedly passed away in his sleep on November 8, 2018. Mr. Dubrow, a
         retired New York City Police Officer who supplemented his retirement with income from his work as a
         driver for Garda, was a bear of a man with a warm personality and a keen sense of humor. He would let
         you know someone was trustworthy with the words “He’s a stand-up guy.”

                 On November 30, 2018 Littler Mendelson filed a suggestion of death for Mr. Dubrow in the
         D’Aguino matter (ECF No. 55). On January 8, 2019, Frank & Boland, counsel for the Plaintiffs in the
         Tanza matter, filed a pre-motion letter requesting leave to substitute parties pursuant to Rule 25. (ECF
         No. 83). On January 9, 2019, Frank & Boland filed a motion with affidavits indicating that Mr. Dubrow
         died without a will. (ECF No. 84-88). However, there are three issues with this request:

                 1. First, assuming that there was no will, no document was submitted evidencing that Mrs.
                    Paulette Dubrow has been appointed as the administratrix of her husband’s estate.
                 2. Second, I can confirm that there is an original will in my possession. I have been retained to
                    probate said will.
                 3. Third, Mrs. Paulette Dubrow would like the Moser Law Firm, P.C. to represent her husband’s
                    estate in both the Tanza and the D’Aguino cases.

                 As you know, the Defendants proposed an idea to the Court in the Summer of 2016 which at the
         time appeared reasonable -- limited discovery regarding the motor carrier exemption followed by an early
         motion for summary judgment. Plaintiff’s did not oppose said request, although we believed that we
         would prevail. We are now almost three years hence. Although some paper discovery has been
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 conducted, Depositions have not taken place. The Defendants have not yet filed their motion for
 summary judgment, and the class certification and conditional certification procedures were put on hold
 pending the outcome of that motion.

         A mediation with Martin Scheinman has been scheduled for April 3, 2019. If the case is not
 resolved, Plaintiff requests the following:

         1) That the D’Aguino matter be referred to Magistrate Judge Tomlinson for completion of
            discovery;

         2) A pre-motion conference or, in the alternative, leave to file a motion to substitute Mrs.
            Dubrow for the deceased plaintiff Barry Dubrow in both the D’Aguino matter and the Tanza
            matter on or before April 15, 2019;

         3) A pre-motion conference or, in the alternative, leave to file a motion for class certification of
            NYLL claims under FRCP 23 and conditional certification of FLSA claims in the D’Aguino
            matter.

         4) If the Court grants leave to file either of the proposed motions, I request leave to file a joint
            proposed a briefing schedule.

                                                                     Respectfully Submitted,




                                                                     Steven John Moser
